                 Case 17-20192-tnw       Doc 96-1 Filed 09/30/21 Entered 09/30/21 15:12:52 Desc
Label Matrix for local noticing             Lexington Fayette
                                               Creditor       Urban County
                                                          Matrix      Page Government
                                                                              1 of 3  United States Bankruptcy Court
0643-2                                       c/o Amerinat                                 Eastern District of Kentucky
Case 17-20192-tnw                            8121 E. Florence                             100 E Vine Street Ste 200
Eastern District of Kentucky                 Downey, CA 90240-3913                        Lexington, KY 40507-1430
Covington
Thu Sep 30 15:08:40 EDT 2021
(p)JC CHRISTENSEN & ASSOC                    ACCOUNT CONTROL TECHNOLOGY, INC.             AMERICAN INFOSOURCE LP AS AGENT FOR
PO BOX 519                                   6918 OWENSMOUTH AVENUE                       VERIZON
SAUK RAPIDS MN 56379-0519                    PO BOX 8012                                  PO BOX 248838
                                             DEPT. 2374231-NTC2                           OKLAHOMA CITY, OK 73124-8838
                                             CANOGA PARK CA 91309-8012

BOONE COUNTY CIRCUIT COURT                   BOONE COUNTY CLERK OF COURTS                 CBCS
625 ROGERS LANE                              2950 WASHINGTON STREET                       PO BOX 69
BURLINGTON, KY 41005                         BURLINGTON KY 41005-8599                     COLUMBUS OH 43216



CBCS 35                                      CHRIST HOSPITAL                              CHRIST HOSPITAL
PO BOX 163279                                PO BOX 3475                                  PO BOX 711943
COLUMBUS OH 43216-3279                       TOLEDO OH 43607-0475                         CINCINNATI OH 45271-1943



COMPLETE RECOVERY SERVICES, INC.             CREDIT COLLECTION SERVICES                   CREDIT COLLECTION SERVICES
3500 5TH STREET                              725 CANTON STREET                            TWO WELLS AVENUE
NORTHPORT AL 35476-4723                      NORWOOD MA 02062-2679                        NEWTON MA 02459-3225



(p)CREDIT PROTECTION ASSOCIATION LP          D.A.V.’S COMPLETE AUTO REPAIR                DICK SCOTT PLUMBING
PARKWAY CENTER V                             4024 PLAINVILLE ROAD                         619 DELHI AVENUE
2500 DALLAS PARKWAY SUTIE 500                CINCINNATI OH 45227-3243                     CINCINNATI OH 45204-1295
PLANO TX 75093-4805


DUKE ENERGY BANKRUPTCY DEPARTMENT            EAGLE LOAN                                   ECMC
139 EAST 4TH STREET                          7791 DIXIE HIGHWAY B                         PO BOX 16408
CINCINNATI OH 45202-4003                     FLORENCE KY 41042-2602                       ST. PAUL, MN 55116-0408



FINNEY, STAGNARO, SABA & PATTERSON CO.       GEICO INDEMNITY COMPANY                      GOGGINS & LAVINTMAN
2623 ERIE AVENUE                             PAYMENT PROCESSING CENTER-27                 SUITE 270
CINCINNATI OH 45208-2001                     PO BOX 55126                                 1295 NORTHLAND DRIVE
                                             BOSTON MA 02205-5126                         SAINT PAUL MN 55120-1373


INSIGHT COMMUNICATIONS                       INTERNAL REVENUE SERVICE                     IRS
7906 DIXIE HWY                               PO BOX 7346                                  PO BOX 7346
FLORENCE KY 41042-2737                       PHILADELPHIA PA 19101-7346                   PHILADELPHIA PA 19101-7346



LIBERTY MUTUAL GROUP                         MERCY MEDICAL ASSOCIATES-EPIC                MULCAHY DENTAL ASSOCIATES
8119 CONNECTOR DRIVE                         C/O KEVIN B WILSON LAW OFFICES               8433 US HIGHWAY 42
FLORENCE KY 41042-1469                       2810 WALKER RD STE 102                       FLORENCE KY 41042-9679
                                             CHATTANOOGA, TN 37421-1666
                 Case 17-20192-tnw             Doc 96-1 Filed 09/30/21 Entered 09/30/21 15:12:52 Desc
(p)OHIO ATTORNEY GENERAL’S OFFICE                 OHIOCreditor
                                                       DEPARTMENTMatrix
                                                                  OF TAXATIONPage 2 of 3 (p)OHIO DEPARTMENT OF JOBS AND FAMILY SERVICE
ATTN ATTN BANKRUPTCY UNIT COLLECTIONS ENFORCEMENT   BANKRUPTCY DIVISION                                  ATTN DONN D ROSENBLUM
30 E BROAD ST                                       P.O. BOX 530                                         P O BOX 182404
14TH FLOOR                                          COLUMBUS, OH 43216-0530                              COLUMBUS OHIO 43218-2404
COLUMBUS OH 43215-3414

OVERBECK AUTO SERVICES, INC.                        PFSC INC.                                            PRESTIGE FINANCIAL
6403 MADISON ROAD                                   2831 GILBERT AVENUE                                  PO BOX 26707
CINCINNATI OH 45227-2023                            CINCINNATI OH 45206                                  SALT LAKE CITY UT 84126-0707



PROFESSIONAL RADIOLOGY INC.                         PROFESSIONAL DIAGNOSTIC SERVICES LLC                 RECEIVABLE SOLUTIONS SPECIALISTS, INC.
PO BOX 630110                                       PO BOX 636886                                        PO BOX 669
CINCINNATI OH 45263-0110                            CINCINNATI OH 45263-6886                             NATCHEZ MS 39121-0669



SIMS FURNITURE                                      SPECTRUM                                             ST ELIZABETH PHYSICIAN SERVICES
727 MADISON                                         PO BOX 429542                                        PO BOX 636324
COVINGTON KY 41011-2477                             CINCINNATI OH 45242-9542                             CINCINNATI, OH 45263-6324



ST ELIZABETH PHYSICIANS                             (p)ST ELIZABETH HEALTHCARE                           TIME WARNER CABLE
PO BOX 635283                                       1 MEDICAL VILLAGE DR                                 11252 CORNELL PARK DRIVE
CINCINNATI, OH 45263-5283                           EDGEWOOD KY 41017-3403                               CINCINNATI OH 45242-1812



U.S. Trustee                                        (p)U S DEPARTMENT OF EDUCATION                       US DEPARTMENT OF EDUCATION
100 E Vine St #500                                  P O BOX 5609                                         NATIONAL PAYMENT CENTER
Lexington, KY 40507-1441                            GREENVILLE TX 75403-5609                             PO BOX 105028
                                                                                                         ATLANTA GA 30348-5028


VERIZON WIRELESS                                    WORLD ACCEPTANCE CORPORATION                         YOU SAVE AUTO REPAIR, LLC
700 CRANBERRY WOODS DRIVE                           ATTN: BANKRUPTCY PROCESSING CENTER                   1042 RUSSELL STREET
CRANBERRY TOWNSHIP PA 16066-5213                    PO BOX 6429                                          COVINGTON KY 41011-3065
                                                    GREENVILLE, SC 29606-6429


Beverly M. Burden                                   Eric A Steiden                                       Martin Joseph Cook
PO Box 2204                                         Steiden Law Offices                                  1113 Banklick Street, Apt. 1
Lexington, KY 40588-2204                            411 Madison Avenue                                   Covington, KY 41011-4102
                                                    Covington, KY 41011-1519




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


ACB AMERICAN, INC.                                  (d)ACB RECOVERY                                      CREDIT PROTECTION
P. O. BOX 2548                                      PO BOX 2548                                          13355 NOEL ROAD
CINCINNATI OH 45201-2548                            CINCINNATI OH 45201-2548                             DALLAS TX 75240
                 Case 17-20192-tnw             Doc 96-1 Filed 09/30/21 Entered 09/30/21 15:12:52 Desc
OHIO ATTORNEY GENERAL                             OHIOCreditor
                                                       DEPT. OF JOB & FAMILYPage
                                                                Matrix       SERVICES3 of 3 ST. ELIZABETH HEALTHCARE
150 EAST GAY STREET                                 PO BOX 182404                                        ONE MEDICAL VILLAGE DRIVE
COLUMBUS OH 43215                                   COLUMBUS OH 43218-2404                               EDGEWOOD KY 41017



(d)ST. ELIZABETH MEDICAL CENTER                     US DEPARTMENT OF EDUCATION
401 E. 20TH STREET                                  501 BLEEKER STREET
COVINGTON KY 41014                                  UTICA NY 13501




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)PROFESSIONAL RADIOLOGY, INC.                     End of Label Matrix
PO BOX 630110                                       Mailable recipients      53
CINCINNATI OH 45263-0110                            Bypassed recipients       1
                                                    Total                    54
